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                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN

STRIKE 3 HOLDINGS, LLC,                 )
                                        )
           Plaintiff,                   ) Civil Case No. 2:22-cv-12757-SFC-APP
                                        )
v.                                      )
                                        )
JOHN DOE subscriber assigned IP         )
Address 76.122.149.206,                 )
                                        )
           Defendant.                   )
                                        )

       DECLARATION OF DAVID WILLIAMSON IN SUPPORT OF
     PLAINTIFF’S MOTION FOR LEAVE TO SERVE A THIRD PARTY
          SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE




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                                      i
                                  EXHIBIT A
DocuSign Envelope ID: 486C3810-48E7-4789-B888-DA3C42B6E0C2
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             DECLARATION OF DAVID WILLIAMSON IN SUPPORT OF PLAINTIFF’S MOTION
               FOR LEAVE TO TAKE DISCOVERY PRIOR TO A RULE 26(f) CONFERENCE

                     1.      My name is David Williamson.

                     2.      I am over the age of 18 and competent to make this declaration. The facts stated in

            this declaration are based upon my personal knowledge and, if called and sworn as a witness, I can

            and competently will testify to all matters contained herein.

                                                      Education and Career

                     3.      Between 1983 to 1986, I attended Bispham Technical College located in Bispham,

            Blackpool, United Kingdom, where I studied computer science.

                     4.      Since completing my studies at Bispham Technical College, I have acquired over

            34 years of experience in the Information Technology industry.

                     5.      My experience ranges from working as a service engineer, a hardware engineer, a

            developer, a team leader, an IT consultant, an eInfrastructure manager, an Internet consultant,

            Infrastructure Practice Manager, a Security & Networking Specialty Manager, and a Software

            Consulting Practice Manager. I was also a UK board member for Sun Microsystems Professional

            Services Division.

                     6.      I have worked in many industries, which significantly include the UK Department

            of Defense (British Aerospace), Sun Microsystems, and AXA Insurance.

                     7.      As a result of my experience, I have significant technology skills that cross the

            Microsoft & Unix / Linux platforms.              These skills are primarily in the areas of software

            development, security, and networking.

                     8.      I am highly competent in networking technologies and information security, and

            adept at programming in various languages including Java, Javascript, PHP, C, and Assembler.

                     9.      I also possess significant skills in Databases, Cloud Computing, and other Web

                                                                  1
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            technologies.

                     10.     I am currently self employed as an Information Systems and Management

            Consultant. In this role, I work with clients to help them tackle the challenges involved with

            scaling their Information Technology Applications.            The process involves using Agile

            methodologies to help companies design and re-factor their applications to use the latest

            technology.

                                             Strike 3 Holdings, LLC Background

                     11.     As an Information Systems and Management Consultant, I am employed as an

            independent contractor by Strike 3 Holdings (“Strike 3” or “Plaintiff”), a Delaware limited liability

            company located at 2140 S. Dupont Hwy, Camden, DE.

                     12.     I have been working with Strike 3 since its inception. I undertake the role of Chief

            Technology Officer (CTO). Because of the nature of my role with the company, I am generally

            familiar with all aspects of the company, and with full knowledge of its Information Technology

            Systems.

                     13.     Strike 3 owns the intellectual property to the Blacked, Blacked Raw, Slayed, Tushy,

            Tushy Raw, and Vixen adult brands, including the copyrights to each of the motion pictures

            distributed through Blacked, Blacked Raw, Slayed, Tushy, Tushy Raw, and Vixen and the

            trademarks to each of the brand names and logos. Strike 3 is owned entirely by General Media

            Systems, LLC and has existed since 2015. I also undertake the role of Vice President of

            Technology for General Media Systems, LLC.

                     14.     Our company has approximately 15 million visitors to our websites per month and

            a loyal following.

                     15.     Our company’s philosophies are important.



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                     16.     We always strive to pay artists and models an amount above that being paid by

            other companies. Indeed, we are known for paying our performers the highest rates ever recorded

            in the industry. Empowering the artists -- and especially the women we work with -- is at the core

            of our company’s philosophy.

                     17.     We focus on delivering to our subscribers and fans superior quality adult films and

            a wonderful customer experience available for a monthly subscription at a fair price. When Strike

            3 first began offering this service, conventional wisdom held that it was destined to fail; that people

            would refuse to pay extra to support the production of high quality adult content they enjoy when

            lesser quality films are available for free. Now, we have a substantial and loyal customer base that

            recognize the value of paying a fair price to support the artists that provide the works they enjoy.

                     18.     We provide jobs for nearly 100 people worldwide. We provide good benefits

            including health care coverage and have an extremely positive company culture. Our employees

            include producers, production managers, video editors, marketing specialists, accountants, stylists,

            content managers, and a full team of highly skilled software developers, system administrators,

            and a quality assurance department.

                     19.     Our movies are known for having some of the highest production budgets of any in

            the industry. We invest in and utilize state of the art cinematic equipment. We film using

            Hollywood industry standards. And, as our subscriber base grows, we always seek to find ways

            to invest in value for our customers.

                     20.     Because of this, we have a subscriber base that is one of the largest of any adult site

            in the world.

                     21.     We are also currently the number one seller of adult DVDs in the United States.

                     22.     Our content is licensed throughout the world, which includes most major cable



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            networks.

                     23.      Our success has not gone unnoticed. Indeed, we are very proud that our unique

            cinematic films have won many awards. Some of them include:

                           a. Best New Studio (XBIZ, 2017)

                           b. Studio of the Year (XBIZ, 2018)

                           c. Best Cinematography (AVN, 2016)

                           d. Director of the Year (AVN, 2016-2018 ; XBIZ, 2017-2018)

                           e. Best Director – (XRCO, 2016-2017)

                           f. Best Membership Website (AVN, 2016-2017)

                           g. Adult Site of the Year – (XBIZ, 2015-2017)

                           h. Best marketing campaign – company image (AVN, 2016-2017)

                           i. Marketing Campaign of the Year (XBIZ, 2018)

                           j. Greg Lansky - Lifetime Achievement Award (Nightmoves)

                           k. Vignette Series of the Year (XBIZ, 2018)

                     24.       We also are routinely featured in mainstream media. Forbes,1 The Daily Beast,2

            CBC Radio,3 Rolling Stone,4 AdAge,5 and Jezebel6 have all published substantial profiles on us.



            1
              “How One Pornographer is Trying to Elevate Porn to Art,” Forbes, July 20, 2017
            https://www.forbes.com/sites/susannahbreslin/2017/07/20/pornographer-greg-lansky-interview/#2301d3ae6593
            2
              “Meet the Man Making Porn Great Again,” The Daily Beast, February 18, 2017
            http://www.thedailybeast.com/meet-the-man-making-porn-great-again
            3
              “Porn-o-nomics: How one director is making a fortune by defying conventional wisdom,” CBC Radio, February
            24, 2017 http://www.cbc.ca/radio/day6/episode-326-sanctuary-cities-la-la-land-vs-jazz-hollywood-in-china-porn-o-
            nomics-and-more-1.3994160/porn-o-nomics-how-one-director-is-making-a-fortune-by-defying-conventional-
            wisdom-1.3994167
            4
              “Versace, Champagne and Gold: Meet the Director Turning Porn Into High Art.” RollingStone, April 15, 2018
            https://www.rollingstone.com/culture/culture-features/versace-champagne-and-gold-meet-the-director-turning-porn-
            into-high-art-629908/
            5
              “Kanye West’s Favorite Pornographer is a Master of SFW Marketing,” AdAge, August 17, 2018
            https://adage.com/article/cmo-strategy/sfw-pornographer/314604
            6
              “The One Percent Fantasies of Greg Lansky’s Vixen” Jezebel, January 9, 2019 https://jezebel.com/jerking-off-to-
            capitalism-the-1-percent-fantasies-of-g-1829976586

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                     25.     We are proud of our impact on the industry. We have raised the bar in the

            industry - leading more adult studios to invest in better content and higher pay for performers.

            That is a testament to the entire team, the company we have built, and the movies we create.

                     26.     Unfortunately, piracy is a major threat to our company. We can compete in the

            industry, but we cannot compete when our content is stolen.

                     27.     We have discovered that when we put videos online for paid members to view, it

            is often less than a day before our movies are illegally available to be downloaded on torrent

            websites. We have attempted to identify the initial seeders of the pirated content. However, due

            to our significant customer base, it is virtually impossible to 100% identify the actual individual

            who initially distributes our content via the torrent network. We do regularly scan our records

            for people who appear to be abusing our service, and take action to prevent further abuse.

                     28.     The issue of pirated content is a significant one; the Global Innovation Policy

            Center released a report7 in June 2019, and found that digital video piracy conservatively causes

            lost domestic revenues of at least $29.2 billion and as much as $71.0 billion. It also found that it

            results in losses to the U.S. economy of between 230,000 and 560,000 jobs and between $47.5

            billion and $115.3 billion in reduced gross domestic product (GDP) each year. We certainly feel

            this pain, as do our paying customers, who are cheated out of access to even more films that our

            company does not have the resources to make when pirates freeload off the system instead of

            contributing their fair share to pay for the works they enjoy.

                     29.     We put a tremendous amount of time, effort and creative energy into producing

            and distributing valuable content for our paid customers. It crushes us to see it being made

            available for free in just minutes.


            7
             “IMPACTS OF DIGITAL VIDEO PIRACY ON THE U.S. ECONOMY” https://www.theglobalipcenter.com/wp-
            content/uploads/2019/06/Digital-Video-Piracy.pdf

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                     30.     Our movies are typically among the most pirated television shows and movies on

            major torrent websites.

                     31.     We send on average 50,000 Digital Millennium Copyright Act notices a month

            but it does virtually nothing to stop the rampant copyright infringement.

                     32.     The most, if not the only, effective way to stop the piracy of our movies on

            BitTorrent networks is to file lawsuits like this one.

                     33.     We are mindful of the nature of the works at issue in this litigation. Our goal is

            not to embarrass anyone or force anyone to settle unwillingly, especially anyone that is innocent.

            We are proud of the films we make. We do not want anyone to be humiliated by them.

                     34.     Because of this, our company and our legal team strives to only file strong cases

            against extreme infringers. Each lawsuit seeks to stop only those infringers who engage not only

            in illegal downloading, but also in large scale unauthorized distribution of our content.

                     35.     We also do not seek settlements unless initiated by the defendant or their counsel.

            We do not send demand letters.

                     36.     We are careful not to proceed with a case against a defendant unless we feel we

            have a strong case and a good faith basis for doing so. We will not pursue defendants that

            provide substantiated exculpatory evidence. Nor will we pursue defendants that have proven

            hardships. Our clear objective is to be mindful and reasonable with each case.

                     37.     We are a respected entertainment company that makes nearly all of its revenue

            from sales of subscriptions, DVDs, and licenses. Our goal is to deter piracy and redirect the

            infringement back into legitimate sales. Proceeds we receive from settlements go back into

            making our company whole.




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                     38.      We believe a consumer’s choice of what content to enjoy, whether it be adult

            entertainment or otherwise, is a personal one to that consumer. Therefore, it is our policy to keep

            confidential the identity of not only our subscribers, but even those we are pursuing for copyright

            infringement. We typically only reveal a defendant’s identity if the defendant does not contact

            Strike 3 to participate in the request to the Court to permit them to proceed anonymously, or if

            the Court in a particular action does not allow a defendant to proceed anonymously.

                     39.      Our copyrights are the foundation of our livelihood. Our copyrights enable us to

            open our office doors each day, pay employees, make a difference in our community, and create

            motion pictures that raise the industry standard. We have to protect them.

                                       Strike 3 Holdings, LLC’s Infringement Detection System

                     40.      I oversaw the design, development, and overall creation of the infringement

            detection system called VXN Scan (“VXN”) which Strike 3 both owns and uses to identify the IP

            addresses used by individuals infringing Plaintiff’s movies via the BitTorrent protocol.

                     41.      It took approximately six months to develop VXN.

                     42.      As explained below, VXN has several components and processes.

                                                   The Torrent Collector/Scrapper

                     43.      The first component of VXN is the Torrent Collector.

                     44.      Torrent websites host .torrent files or list magnet links referring to .torrent files,

            which contain torrent metadata. In order to download content through BitTorrent, a user will first

            download a BitTorrent client (i.e., software that enables the BitTorrent protocol work), and then

            will search for and acquire .torrent files from torrent websites. The BitTorrent client reads the

            .torrent file’s metadata, specifically its “Info Hash,”8 and uses that information to download pieces


            8
              The “Info Hash” is the data that the BitTorrent protocol uses to identify and locate the other pieces of the desired
            file across the BitTorrent network. To be clear, the “Info Hash” is not the hash value of the complete file nor its

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            of the desired computer file that correlate to the .torrent file previously acquired.

                      45.      The Torrent Collector is software that conducts lexical searches of Plaintiff’s titles

            within well-known torrent websites.

                      46.      The Torrent Collector is serviced at Amazon Elastic Compute Cloud (“Amazon

            EC2”). Amazon EC2 is a web service that provides secure, resizable compute capacity in the

            cloud.9

                                                               The Downloader

                      47.      The second component of VXN is a software called Downloader. After the Torrent

            Collector’s lexical search yields a match (i.e., it has located a .torrent file which establishes that

            the correlating targeted computer file contains the title of one of Plaintiff’s works), the Downloader

            subsequently downloads the .torrent file and a full copy of the targeted computer file from the

            whole BitTorrent swarm. To be clear, the Downloader does not obtain a full copy from a single

            infringer.

                      48.      The targeted computer file is downloaded for human audiovisual verification

            purposes only. Indeed, downloading the entire targeted computer file is necessary so that Strike 3

            can confirm that the targeted computer file, which is downloaded in pieces using the “Info Hash”

            value in the metadata of the related .torrent file, is in fact an infringing copy of a copyrighted work

            it owns.

                      49.      It is impossible for the Downloader to re-distribute or upload any of the retrieved

            data, since, as written, the program does not contain such a function. To be clear, the downloader

            will never upload data to other computer systems in the BitTorrent network.



            correlating .torrent file. Instead, it is a unique identifier contained in the metadata of the .torrent file that provides a
            “map” so that those pieces can be collected and re-assembled into a complete file (i.e., a playable movie) by a
            BitTorrent client.
            9
              See https://aws.amazon.com/ec2/

                                                                          8
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                     50.     The Downloader then stores the .torrent file and a full copy of the targeted computer

            file directly onto a cloud platform account provided by Amazon Web Services (“AWS”).

                     51.     The Downloader is also serviced at Amazon EC2.

                                                     The Proprietary Client

                     52.     The third component of VXN is a proprietary BitTorrent client (“Proprietary

            Client”).

                     53.     After the Downloader downloads the .torrent file and targeted computer file as

            described above, the Proprietary Client connects to peers within the swarm associated with that

            infringing computer file.        The Proprietary Client connects to these peers using a TCP/IP

            connection. This connection cannot be spoofed.

                     54.     Once the connection is established, the Proprietary Client begins the process of

            downloading a piece or multiple pieces of the infringing computer file from other computers

            connected to the Internet through IP addresses, which are offering pieces of the infringing

            computer file for download (i.e., “peers” in the BitTorrent “swarm”). The Proprietary Client

            accomplishes this by using the Info Hash value in the metadata of the .torrent file, which has

            already been confirmed to correlate with a digital media file that infringes upon one of Strike 3’s

            copyrighted works. The BitTorrent protocol ensures that, because the Proprietary Client requests

            file pieces based on this specific Info Hash value, it only receives pieces of the related digital media

            file. In short, it repeatedly downloads data pieces from peers within the BitTorrent network which

            are distributing Plaintiff’s movies.

                     55.     In this way, the Proprietary Client emulates the behavior of a standard BitTorrent

            client. However, there are two ways in which the Proprietary Client differs from a standard

            BitTorrent client. The first is that the Proprietary Client is incapable of distributing the infringing



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            computer files. Thus, it is only able to download data from peers in a swarm and is unable to

            upload any data to the peers in a swarm. The second exception is that the Proprietary Client is

            disabled from storing any of the content obtained from the transaction and the Proprietary Client

            does not itself record evidence of infringement.

                     56.     The Proprietary Client operates on an independent physical server which is located

            in a professional data center in Florida.

                                                 PCAP Recorder / Capture Card

                     57.     The fourth component of VXN is the PCAP Recorder, which uses a physical

            PCAP Capture Card.

                     58.     Data sent through the Internet is delivered in the form of “packets” of

            information. PCAP stands for “Packet Capture.” A PCAP is a computer file containing captured

            or recorded data transmitted between network devices.

                     59.     In this case, Plaintiff sought to record numerous infringing BitTorrent computer

            transactions in the form of PCAPs. The PCAPs evidence particular IP addresses connecting to

            the Proprietary Client and sending pieces of a computer file (which contains an infringing copy

            of Plaintiff’s works) to the Proprietary Client.

                     60.     Strike 3’s need to record and secure PCAPs is logical since PCAPs contain specific

            BitTorrent transaction details of evidentiary value.

                     61.     Indeed, a PCAP contains the Internet Protocol (IP) Addresses used in the network

            transaction, the date and time of the network transaction, the port number10 used to accomplish

            each network transaction, and the BitTorrent client used to accomplish the network transaction.

            All of the above can be useful in identifying an infringer.


            10
               A port is a communication endpoint. Ports are identified for each protocol and address combination by the port
            number.

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                     62.     A PCAP also identifies the Info Hash value that was used to obtain the transacted

            piece. This information identifies the data that was shared in the recorded transaction as a

            constituent part of a specific digital media file, which, as described above, has been confirmed to

            be a file that infringes upon one of Strike 3’s copyrighted works.

                     63.     In order to record the PCAPs in real-time for all BitTorrent transactions which the

            Proprietary Client is involved in, VXN uses a Capture Card called Link™ NT40A01 SmartNIC.

            This is a network capture card that was developed and manufactured by Napatech™.

                     64.     Napatech is the leading provider of reconfigurable computing platforms.11 It

            develops and markets the world’s most advanced programmable network adapters for network

            traffic analysis and application off-loading.12             Napatech’s “family of SmartNICs enables

            government and military personnel to capture all the data running through their networks[.]”13

                     65.     Within VXN, the Capture Card is connected to the Proprietary Client’s network

            connection via a passive network tap. A passive network tap allows the Capture Card to record

            perfect copies of all traffic without actively interacting with any other components within the

            network (i.e., the Proprietary Client). In this manner, the Capture Card retrieves an identical copy

            of each and every single network packet which is sent14 and received by the Proprietary Client.

                     66.     The PCAP Recorder receives that data from the Capture Card and streams the

            PCAP files directly onto a cloud platform account provided by AWS. More specifically, the cloud

            platform is known as Amazon Simple Storage Service (“Amazon S3”). Within this Amazon S3

            account, Plaintiff has enabled the object lock “legal hold” feature. This feature “prevents an object



            11
               See https://marketing.napatech.com/acton/attachment/14951/f-cce2aadf-5242-49dd-b515-31bd48077066/1/-/-/-/-
            /Fort%20Huachuca%20Press%20Release.pdf
            12
               See http://www.networkallies.com/partners/napatech
            13
               See https://finance.yahoo.com/news/napatechs-family-smartnics-helps-state-130700070.html
            14
               The Proprietary Client does not send any data to BitTorrent peers. But even if it did, the Capture Card would
            record such transactions.

                                                                   11
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            version from being overwritten or deleted […] [which] remains in effect until removed.” 15 Thus,

            this ensures that the files cannot be modified or deleted.

                     67.      Plaintiff’s “legal hold” feature is currently set for three years. Therefore, the

            PCAPs cannot be modified or deleted for three years from the date and time the PCAP was first

            streamed onto the Amazon s3 cloud.

                     68.      To be clear, no PCAP data is stored locally on the Capture Card. Rather, the PCAP

            data is streamed in real time and stored directly onto Amazon S3.

                     69.      The Capture Card is synchronized with a time server using the Global Positioning

            System (GPS). This ensures that the dates and times within the PCAPs are accurate. Each

            recorded transaction is recorded in milliseconds (thousandths of a second).

                     70.      The independent physical server housing the Capture Card and PCAP Recorder is

            also located at a professional data center in Florida.

                                                          The PCAP Stamper

                     71.      The fifth component of VXN is the PCAP Stamper software.

                     72.      Every 24 hours the PCAP Stamper16 sends an index of every PCAP file VXN has

            ever recorded within the last 24 hours to a 3rd party provider called DigiStamp, Inc.17 DigiStamp,

            Inc. then signs the index with a qualified timestamp. This ensures that the PCAPs existed on the

            date and time listed in the timestamp, and that it has not been modified as of the date and time


            15
               See https://docs.aws.amazon.com/AmazonS3/latest/dev/object-lock-overview.html#object-lock-legal-holds
            16
               Though we termed this software the “PCAP Stamper,” this term is not descriptive since it is DigiStamp, Inc. that
            actually signs the PCAP index with a qualified timestamp.
            17
               DigiStamp, Inc. provides “tools to prove the authenticity and integrity of electronic records. By the end of 2003,
            DigiStamp had created more than 1 million timestamps for customers. Not a single DigiStamp timestamp has ever
            been successfully challenged. In 2005, [DigiStamp] commissioned and completed an external audit so that [its]
            timestamp meets the highest standards of strong legal evidence for authenticating computer data.” Further “state and
            federal agencies, as well as foreign governments, have sought [DigiStamp’s] advice and our products. From the
            Supreme Court of Ohio to the Department of Defense to the federal governments of Mexico and Australia,
            [DigiStamp] [is] recognized as reliable experts who offer sound thinking as well as a fine product.” See
            https://www.digistamp.com/about-us/aboutus

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            listed in the timestamp.

                     73.     The PCAP Stamper is located on Amazon EC2.

                                                       The PCAP Analyzer

                      74.    The sixth component of VXN is the PCAP Analyzer. The PCAP Analyzer is

            software that: (a) retrieves stored PCAP files from Amazon S3; (b) extracts infringing transaction

            data from each PCAP; (c) verifies that each retrieved data piece is a part of the .torrent related file

            (and therefore distributing Plaintiff’s copyrighted content) by using cryptographic hashes; and (d)

            organizes and summarizes the extracted infringing transaction data in a tabular format.

                      75.    Each line item within the PCAP Analyzer’s tabular output always references an

            existing PCAP file. In other words, there is a PCAP recording for every infringing transaction

            listed in the PCAP Analyzer’s tabular output. Thus, Plaintiff is always able to provide the original

            recording (the PCAPs) for each transaction listed in the tabular output. The tabular format is

            merely a summary of the PCAP data and is created for better human readability.

                      76.    The PCAP Analyzer is connected to Maxmind® GeoIP2 Precision Services

            geolocation database.18

                      77.    Maxmind is “an industry-leading provider of IP intelligence and online fraud

            detection tools.”19 “Over 5,000 companies use GeoIP data to locate their Internet visitors and

            show them relevant content and ads, perform analytics, enforce digital rights, and efficiently route

            Internet traffic.”20 Maxmind is not “software” or technology, but instead it is a database. Maxmind

            compiles information it receives from Internet Service Providers (ISPs) containing the city and

            state locations of the users of the ISPs and their respective IP addresses. Maxmind maintains and



            18
               See https://www.maxmind.com/en/geoip2-precision-services
            19
               See https://www.maxmind.com/en/company
            20
               Id.

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            updates this list weekly and sells access to it.

                      78.    VXN connects with the Maxmind database to determine both the Internet Service

            Provider that assigned a particular IP address as well as the city and state the IP Address traces to.

            The PCAP Analyzer adds this information to the tabular output.

                      79.    The PCAP Analyzer runs continuously in real-time.

                      80.    The PCAP Analyzer software is located on Amazon EC2.

                      81.    The PCAP Analyzer fulfills the same basic function as the well-known software

            called Wireshark and follows the same standards.

                     PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the

            laws of the United States of America that the foregoing is true and correct.

                     Executed this 18th day of October, 2022.

                                                               By:_____________________________

                                                                      DAVID WILLIAMSON




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